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Fill in this information to identify your case and this filing:


Debtor 1
                    Hugh Ronnie Wallace
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Nancy Katherine Wallace
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Southern District of Mississippi District of __________
                                                                                    (State)


                                                                                                                                           Check if this is an
Case number         ___________________________________________

                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                 
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put


                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 1969    Mill Creek Lane SW                                                                              Creditors Who Have Claims Secured by Property:

                                                                 
           _________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                      Condominium or cooperative                   Current value of the Current value of the

                                                                 
                                                                      Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________

                                                                 
                                                                 ✔    Land                                          75,000.00
                                                                                                                   $________________   75,000.00
                                                                                                                                     $_________________

                                                                 
                                                                      Investment property
             Bogue   Chitto           MS 39629
             _________________________________________                                                             Describe the nature of your ownership

                                                                 
                                                                      Timeshare                                    interest (such as fee simple, tenancy by
             City                         State     ZIP Code
                                                                      Other __________________________________     the entireties, or a life estate), if known.
                                                                                                                   Joint tenant
                                                                                                                    Check if this is community property
                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only
                                                                  Debtor 2 only
            Lincoln County
            _________________________________________

                                                                 
             County


                                                                  At least one of the debtors and another
                                                                 ✔ Debtor 1 and Debtor 2 only



                                                                Other information you wish to add about this item, such as local
                                                                property identification number:
                                                           Home with 2.3 acres: located at 1969 Mill Creek Lane, Bogue Chitto, MS 39629




                                                                
    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.

                                                                
      1.2. ________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                
                                                                    Condominium or cooperative                     Current value of the      Current value of the

                                                                
                                                                     Manufactured or mobile home                   entire property?          portion you own?
             ________________________________________

                                                                
                                                                     Land                                          $________________         $_________________

                                                                
                                                                     Investment property
             ________________________________________

                                                                
                                                                     Timeshare                                     Describe the nature of your ownership
             City                    State   ZIP Code
                                                                     Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                 Debtor 1 only
                                                                                                                   __________________________________________
             ________________________________________
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
             County


                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  75,000.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Ford                                          Who has an interest in the property? Check one.
                                                                  Debtor 1 only
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Windstar
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                 
            Year:                  2000
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
                                                                 ✔ Debtor 1 and Debtor 2 only
                                  140000
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
         Other information:
   Condition: Poor; Not Running, electrical problems
                                                                                                                           500.00
                                                                                                                          $________________          500.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:
                   Ford                                          Who has an interest in the property? Check one.
                                                                 
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                                                                 ✔ Debtor 1 only
                    F150
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2002
                                  ____________                                                                            Current value of the      Current value of the

                                                                  At least one of the debtors and another
                                  137000                                                                                  entire property?          portion you own?
            Approximate mileage: ____________


                                                                  Check if this is community property (see
         Other information:
   Condition: Fair
                                                                                                                           2,500.00
                                                                                                                          $________________          2,500.00
                                                                                                                                                    $________________
                                                                     instructions)




                                                                                                                                                                   10
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                                                                                                                                                         page ___
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                      Ford                                                    Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.
  3.3      Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: Mustang
                  ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                            2012
                                            ____________                                                                                                Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: 68000
                                ____________
                                                                                                                                                        entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
           Condition: Fair
                                                                                                                                                         10,500.00
                                                                                                                                                        $________________                 10,500.00
                                                                                                                                                                                         $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
        No
   ✔    Yes


                      4 ____________________________
                         x 8 Utility trailer                                 Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:                                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                             
            Year:       ____________

                                                                              At least one of the debtors and another
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?
            Condition: ; Mileage:
                                                                               Check if this is community property (see                                 250.00
                                                                                                                                                        $________________                 250.00
                                                                                                                                                                                         $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      13,750.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household Furniture and appliances

   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      2,000.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

    No
             collections; electronic devices including cell phones, cameras, media players, games

   
                            Household and personal electronics
   ✔ Yes. Describe. ........                                                                                                                                                                          225.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


    No
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

   
   ✔ Yes. Describe. .........
                              30/30 Rifle and 12 Gauge Shotgun                                                                                                                                       300.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                          Personal clothing
   ✔    Yes. Describe. .........                                                                                                                                                                      650.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
        No                       Personal jewelry
   ✔    Yes. Describe. .........                                                                                                                                                                      250.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
                                         Personal lawn care equipment and misc tools

   
        No
   ✔    Yes. Give specific                                                                                                                                                                            150.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        3,575.00
                                                                                                                                                                                                    $______________________



                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
       No
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      50.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Trustmark National Bank (2704)                                                       289.65
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in


   
   an LLC, partnership, and joint venture

    Yes. Give specific
   ✔ No



       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.

    
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


     Yes. Give specific
    ✔ No



         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
    Yes. List each
   ✔ No



         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
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                                                                                                                                       $__________________
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
       No
   ✔                                                          2017 Federal Tax Refund, 2017 MS State Tax Refund
       Yes. Give specific information                                                                                         Federal:               337.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 202.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                      878.65
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
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48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                75,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    13,750.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,575.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           878.65
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             18,203.65
                                                                                                                     $________________                                                                            18,203.65
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       93,203.65
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
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 Fill in this information to identify your case:

                     Hugh Ronnie Wallace
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            Nancy Katherine Wallace
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Mississippi District of __________

                                                                                                                                                  Check if this is an
                                                                                    (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                          4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                           exemption you claim

                                                           Copy the value from                       Check only one box
                                                           Schedule A/B                              for each exemption


                                                                                              
                 2000 Ford Windstar                                                                                                 MS Code § 85-3-1 (a)
 Brief                                                             500.00
                                                                  $________________           ✔ $ ____________
                                                                                                  500.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        3.1


                                                                                               $ ____________
                 2002 Ford F150                                                                                                     MS Code § 85-3-1 (a)
 Brief
                                                                  $________________
                                                                    2,500.00                      2,500.00
                                                                                                100% of fair market value, up to
                                                                                               ✔
 description:
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:          3.2

                                                                                              
                 4 x 8 Utility trailer                                                                                              MS Code § 85-3-1 (a)
 Brief
                                                                  $________________
                                                                    250.00                    ✔ $ ____________
                                                                                                  250.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           4.1

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                           page 1 of __
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Debtor           Hugh Ronnie Wallace
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                        Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
               Household goods - Household Furniture and appliances

                                                                                             
                                                                                                                                   MS Code § 85-3-1 (a)
Brief                                                                  2,000.00
                                                                      $________________          2,000.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
description:
Line from                                                                                        any applicable statutory limit
Schedule A/B:         6


                                                                                             
               Electronics - Household and personal electronics                                                                    MS Code § 85-3-1 (a)
Brief
                                                                      $________________
                                                                       225.00                ✔ $ ____________
                                                                                                 225.00
                                                                                              100% of fair market value, up to
description:

                                                                                                 any applicable statutory limit
Line from
Schedule A/B:         7


                                                                                             
               Firearms - 30/30 Rifle and 12 Gauge Shotgun                                                                         MS Code § 85-3-1 (a)
Brief
                                                                      $________________
                                                                       300.00                ✔ $ ____________
                                                                                                 300.00
                                                                                              100% of fair market value, up to
description:

Line from                                                                                        any applicable statutory limit
Schedule A/B:         10


                                                                                             
               Clothing - Personal clothing                                                                                        MS Code § 85-3-1 (a)
Brief
description:                                                          $________________
                                                                       650.00                ✔ $ ____________
                                                                                                 650.00
                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         11


                                                                                             
               Jewelry - Personal jewelry                                                                                          MS Code § 85-3-1 (a)
Brief
description:                                                          $________________
                                                                       250.00                    250.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          12


                                                                                             
               Other - Personal lawn care equipment and misc tools                                                                 MS Code § 85-3-1 (a)
Brief                                                                  150.00
                                                                      $________________          150.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
description:

Line from                                                                                        any applicable statutory limit
Schedule A/B:         14


                                                                                             
               Cash at filing (Cash On Hand)                                                                                       MS Code § 85-3-1 (a)
Brief                                                                  50.00                     50.00
                                                                      $________________      ✔ $ ____________

                                                                                              100% of fair market value, up to
description:
Line from                                                                                        any applicable statutory limit
Schedule A/B:        16


                                                                                             
               2017 MS State Tax Refund (owed to debtor)                                                                           MS Code § 85-3-1 (k)
Brief
                                                                      $________________
                                                                       202.00                ✔ $ ____________
                                                                                                 202.00
                                                                                              100% of fair market value, up to
description:

                                                                                                 any applicable statutory limit
Line from
Schedule A/B:        28


                                                                                              $ ____________
               2017 Federal Tax Refund (owed to debtor)                                                                            MS Code § 85-3-1 (j)
Brief                                                                  337.00                    337.00
                                                                      $________________      ✔

                                                                                              100% of fair market value, up to
description:

Line from                                                                                        any applicable statutory limit
Schedule A/B:           28


                                                                                              $ ____________
Brief
                                                                      $________________
                                                                                              100% of fair market value, up to
description:
Line from                                                                                        any applicable statutory limit
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                      $________________
                                                                                              100% of fair market value, up to
description:
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:

                                                                                              $ ____________
Brief
                                                                      $________________
                                                                                              100% of fair market value, up to
description:

Line from                                                                                        any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   2    2
                                                                                                                                                   page ___ of __
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 Fill in this information to identify your case:

                     Hugh Ronnie Wallace
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                  Last Name

 Debtor 2            Nancy Katherine Wallace
                     ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern                      District of __________
                                                  District of Mississippi
                                                                                          (State)

                                                                                                                                                       Check if this is an
 Case number         ___________________________________________
 (If known)
                                                                                                                                                          amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



    
1. Do any creditors have claims secured by your property?


    
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                          Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                        Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                     that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                  claim                 If any

2.1 Capital One Auto Finance                              Describe the property that secures the claim:                    12,407.00
                                                                                                                          $_________________   10,500.00
                                                                                                                                             $________________  1,907.00
                                                                                                                                                               $____________
     ______________________________________               2012 Ford Mustang - $10,500.00
     Creditor’s Name
     P. O. Box 60511
     ______________________________________
     Number            Street

     ______________________________________               As of the date you file, the claim is: Check all that apply.
                                                          
                                                          
      City of Industry      CA 91716-0511                      Contingent
     ______________________________________

                                                          
     City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                Disputed
  
  
       Debtor 1 only                                      Nature of lien. Check all that apply.
                                                          
  
       Debtor 2 only                                      ✔    An agreement you made (such as mortgage or secured

  
  ✔    Debtor 1 and Debtor 2 only
                                                          
                                                               car loan)
       At least one of the debtors and another
                                                          
                                                               Statutory lien (such as tax lien, mechanic’s lien)

  
                                                          
                                                               Judgment lien from a lawsuit
     Check if this claim relates to a
     community debt                                            Other (including a right to offset) ____________________
                            2013
  Date debt was incurred ____________                     Last 4 digits of account number           1001
2.2 First Heritage Credit Brookhaven                      Describe the property that secures the claim:                    3,556.00
                                                                                                                          $_________________   0.00
                                                                                                                                             $________________  3,556.00
                                                                                                                                                               $____________
     ______________________________________               HHG/Personal Property - $0.00
     Creditor’s Name
      112 W Monticello St
     ______________________________________
     Number            Street

     ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
                                                          
                                                          
      Brookhaven                   MS
     ______________________________________
                                           39601               Contingent
     City                          State   ZIP Code

                                                          
                                                               Unliquidated
  Who owes the debt? Check one.                                Disputed
  
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
                                                          
  
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured

  
       Debtor 1 and Debtor 2 only
                                                          
                                                               car loan)
       At least one of the debtors and another
                                                          
                                                               Statutory lien (such as tax lien, mechanic’s lien)

  
                                                          
     Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                       ✔                                        Non-Purchase Money
                                                               Other (including a right to offset) ____________________        Agreement
                            2016
  Date debt was incurred ____________                     Last 4 digits of account number           0711
     Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                            15,963.00

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of ___
                                                                                                                                                                       4
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 Debtor 1        Hugh  Ronnie Wallace
                  _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name      Middle Name         Last Name




               Addit iona l Pa ge                                                                                        Column A               Column B              Column C
                                                                                                                         Amount of claim        Value of collateral   Unsecured
Pa rt 1 :      After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                         Do not deduct the
               by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any
2.3    Harrison Finance                                Describe the property that secures the claim:                   1,400.00
                                                                                                                    $__________________    950.00
                                                                                                                                        $_________________   1,400.00
                                                                                                                                                           $________________

      ______________________________________           Mower and computer - $950.00
      Creditor’s Name
       P. O. Box 1702
      ______________________________________
      Number            Street

      ______________________________________
                                                       As of the date you file, the claim is: Check all that apply.
       Monticello            MS 39654                  
                                                       
      ______________________________________               Contingent
      City                        State     ZIP Code

                                                       
                                                           Unliquidated
  Who owes the debt? Check one.
  
                                                           Disputed


  
         Debtor 1 only
                                                       Nature of lien. Check all that apply.

                                                      
         Debtor 2 only
                                                           An agreement you made (such as mortgage or secured

  
  ✔      Debtor 1 and Debtor 2 only

                                                       
                                                           car loan)
         At least one of the debtors and another

                                                       
                                                           Statutory lien (such as tax lien, mechanic’s lien)
  
                                                       
        Check if this claim relates to a                   Judgment lien from a lawsuit
        community debt                                 ✔                                        Non-Purchase Money
                                                           Other (including a right to offset) ____________________             Agreement
  Date debt was incurred ____________                  Last 4 digits of account number         5105

2.4    Nationstar/Mr. Cooper
                                                       Describe the property that secures the claim:                51,511.00
                                                                                                                  $__________________    75,000.00
                                                                                                                                      $_________________    0.00
                                                                                                                                                         $_________________
      _____________________________________            1969 Mill Creek Lane SW - $75,000.00
      Creditor’s Name                                  Home with 2.3 acres
       P. O. Box 650783
      ______________________________________
      Number            Street

      ______________________________________
                                                       
                                                       As of the date you file, the claim is: Check all that apply.

                                                       
      Dallas                 TX 75265
      ______________________________________                Contingent
      City                         State    ZIP Code        Unliquidated

                                                       
  Who owes the debt? Check one.
  
                                                            Disputed

  
        Debtor 1 only
                                                       Nature of lien. Check all that apply.
                                                      
        Debtor 2 only
  ✔                                                     ✔ An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only

                                                        Statutory lien (such as tax lien, mechanic’s lien)
                                                       car loan)
        At least one of the debtors and another

       Check if this claim relates to a               
                                                       
                                                            Judgment lien from a lawsuit
        community debt
                                                            Other (including a right to offset) ____________________
                          2010
  Date debt was incurred ____________                  Last 4 digits of account number         6222
2.5    OneMain Financial
                                                       Describe the property that secures the claim:                       6,200.00 $_________________
                                                                                                                   $__________________     1,500.00 $________________
                                                                                                                                                            6,200.00
      _____________________________________
      Creditor’s Name                                  HHG/Personal Property - $1,500.00
       216 Hwy 51 North
      _____________________________________
      Number            Street

      _____________________________________
       Brookhaven            MS 39601
      ______________________________________           As of the date you file, the claim is: Check all that apply.
      City                         State    ZIP Code
                                                       
                                                       
                                                           Contingent


                                                       
                                                           Unliquidated
  Who owes the debt? Check one.
  
                                                           Disputed

  
  ✔      Debtor 1 only
                                                       Nature of lien. Check all that apply.
                                                      
         Debtor 2 only
                                                           An agreement you made (such as mortgage or secured
  
         Debtor 1 and Debtor 2 only

                                                       
         At least one of the debtors and another           car loan)

                                                      
                                                           Statutory lien (such as tax lien, mechanic’s lien)
        Check if this claim relates to a
                                                       
                                                           Judgment lien from a lawsuit
        community debt                                 ✔                                       Non-Purchase Money
                                                           Other (including a right to offset) ____________________             Agreement
                         2016
  Date debt was incurred ____________                  Last 4 digits of account number         7862
             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      59,111.00
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                     $_________________

   Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                   2 of ___
                                                                                                                                                                        4
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 Debtor 1        Hugh  Ronnie Wallace
                  _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name      Middle Name         Last Name




               Addit iona l Pa ge                                                                                        Column A               Column B              Column C
                                                                                                                         Amount of claim        Value of collateral   Unsecured
Pa rt 1 :      After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                         Do not deduct the
               by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any
2.6    United Credit Corp                              Describe the property that secures the claim:                   1,800.00
                                                                                                                    $__________________    850.00
                                                                                                                                        $_________________   1,800.00
                                                                                                                                                           $________________

      ______________________________________           HHG/Personal Property - $850.00
      Creditor’s Name
       970 Brookway Blvd
      ______________________________________
      Number            Street

      ______________________________________
                                                       As of the date you file, the claim is: Check all that apply.
       Brookhaven            MS 39601-0000             
                                                       
      ______________________________________               Contingent
      City                        State     ZIP Code

                                                       
                                                           Unliquidated
  Who owes the debt? Check one.
  
                                                           Disputed


  
  ✔      Debtor 1 only
                                                       Nature of lien. Check all that apply.

                                                      
         Debtor 2 only
                                                           An agreement you made (such as mortgage or secured

  
         Debtor 1 and Debtor 2 only

                                                       
                                                           car loan)
         At least one of the debtors and another

                                                       
                                                           Statutory lien (such as tax lien, mechanic’s lien)
  
                                                       
        Check if this claim relates to a                   Judgment lien from a lawsuit
        community debt                                 ✔                                        Non-Purchase Money
                                                           Other (including a right to offset) ____________________             Agreement
                          2015
  Date debt was incurred ____________                  Last 4 digits of account number         4134

                                                       Describe the property that secures the claim:              $__________________ $_________________ $_________________
      _____________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                       
                                                       As of the date you file, the claim is: Check all that apply.

                                                       
      ______________________________________                Contingent
      City                         State    ZIP Code        Unliquidated

                                                       
  Who owes the debt? Check one.
  
                                                            Disputed

  
        Debtor 1 only
                                                       Nature of lien. Check all that apply.
                                                       An agreement you made (such as mortgage or secured
        Debtor 2 only


  
        Debtor 1 and Debtor 2 only

                                                        Statutory lien (such as tax lien, mechanic’s lien)
                                                       car loan)
        At least one of the debtors and another

       Check if this claim relates to a               
                                                       
                                                            Judgment lien from a lawsuit
        community debt
                                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                  Last 4 digits of account number


                                                       Describe the property that secures the claim:               $__________________ $_________________ $________________
      _____________________________________
      Creditor’s Name

      _____________________________________
      Number            Street

      _____________________________________

      ______________________________________           As of the date you file, the claim is: Check all that apply.
      City                         State    ZIP Code
                                                       
                                                       
                                                           Contingent


                                                       
                                                           Unliquidated
  Who owes the debt? Check one.
  
                                                           Disputed

  
         Debtor 1 only
                                                       Nature of lien. Check all that apply.
                                                      
         Debtor 2 only
                                                           An agreement you made (such as mortgage or secured
  
         Debtor 1 and Debtor 2 only

                                                       
         At least one of the debtors and another           car loan)

                                                      
                                                           Statutory lien (such as tax lien, mechanic’s lien)
        Check if this claim relates to a
                                                       
                                                           Judgment lien from a lawsuit
        community debt                                     Other (including a right to offset) ____________________
  Date debt was incurred ____________                  Last 4 digits of account number

             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      1,800.00
             If this is the last page of your form, add the dollar value totals from all pages.                            76,874.00
             Write that number here:                                                                                     $_________________

   Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
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Debtor 1
              Hugh  Ronnie Wallace
               _______________________________________________________                          Case number (if known)_____________________________________
                 First Name   Middle Name        Last Name


  Pa rt 2 :      List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

       Lincoln Co. Chancery Clerk                                                                                                              2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       P. O. Box 555
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Brookhaven                                    MS            39602-0000
      _____________________________________________________________________
      City                                    State         ZIP Code


       Portfolio Recovery Associates, LLC
                                                                                                                                                2.5
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number    3329
       P. O. Box 12914
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Norfolk                                      VA             23541
      _____________________________________________________________________
      City                                    State         ZIP Code


       Shapiro & Massey                                                                                                                         2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number    6222
       1080 River Oaks Drive
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Jackson                                       MS            39232
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                        Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                              page ___
                                                                                                                                                   4 of ___
                                                                                                                                                        4
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  Fill in this information to identify your case:

                           Hugh Ronnie Wallace
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
                          Nancy Katherine Wallace
      (Spouse, if filing) First Name                    Middle Name              Last Name




                                                                                                                                                         Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              Southern District of Mississippi District of __________
                                                                                             (State)
      Case number         ___________________________________________
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s


          No. Go to Part 2.
 1. Do any creditors have priority unsecured claims against you?


         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
            Internal Revenue Servi
2.1                                                                                                                                  2,571.00 $___________
                                                                                                                                                  2,571.00 $____________
                                                                                                                                                            0.00
                                                                        Last 4 digits of account number      0826                  $_____________
           ____________________________________________
           Priority Creditor’s Name
            P. O. Box 7346                                              When was the debt incurred?          2016
                                                                                                             ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Philadelphia             PA      19101-7346                  
                                                                        
           ____________________________________________                     Contingent
           City                                 State    ZIP Code

                                                                        
                                                                            Unliquidated

           
           Who incurred the debt? Check one.                                Disputed

           
           ✔      Debtor 1 only                                         Type of PRIORITY unsecured claim:
                                                                        
           
                  Debtor 2 only                                             Domestic support obligations
                                                                        
           
                  Debtor 1 and Debtor 2 only                            ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                  Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
            ✔ No

                  Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                
                                                                        
                                                                            Contingent


                                                                        
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code
                                                                            Disputed

           
            Who incurred the debt? Check one.

           
                   Debtor 1 only                                        Type of PRIORITY unsecured claim:
                                                                        
           
                   Debtor 2 only                                            Domestic support obligations
                                                                        
           
                   Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                   At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                   Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
                   No
                   Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                        7
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                       Hugh Ronnie Wallace
 Debtor 1             _______________________________________________________                            Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Ally Financial                                                                                                                                       Total claim
4.1
                                                                                     Last 4 digits of account number       5652
         _____________________________________________________________                                                                                         1,388.27
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?           ____________
          P. O. Box 78369
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Phoenix                             AZ       85062                          
                                                                                     
         _____________________________________________________________                   Contingent
         City                                             State          ZIP Code

                                                                                     
                                                                                         Unliquidated

         
         Who incurred the debt? Check one.                                               Disputed

         
                Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                    
                Debtor 2 only

                                                                                     
                                                                                         Student loans
         
         ✔      Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                         that you did not report as priority claims


                                                                                     
                Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                     ✔   Other. Specify Deficiency Balance
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
4.2
         COMENITY/GOODY'S                                                            Last 4 digits of account number       4487                               230.00
                                                                                                                                                             $__________________
         _____________________________________________________________               When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         P. O. Box 659465
         _____________________________________________________________
         Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
         _______________________________________________________________________

                                                                                     
                                                                                         Contingent
          San Antonio                                     TX
                                                      78265
         _____________________________________________________________

                                                                                     
                                                                                         Unliquidated
         City                                             State          ZIP Code

         
         Who incurred the debt? Check one.                                               Disputed

         
                Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                     
         
                Debtor 2 only

                                                                                     
                                                                                         Student loans

         
         ✔      Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another
                                                                                     
                                                                                         that you did not report as priority claims

         
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
                Check if this claim is for a community debt
                                                                                     ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
          Cap1/Ymaha
4.3
                                                                                     Last 4 digits of account number       0012
         _____________________________________________________________                                                                                        5,026.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           2004
                                                                                                                           ____________
         Po Box 30253
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Salt Lake City                      UT       84130                          
                                                                                     
         _____________________________________________________________                   Contingent
         City                                             State          ZIP Code

                                                                                     
         Who incurred the debt? Check one.                                               Unliquidated

                                                                                        Disputed

         
                Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                    
         ✔      Debtor 2 only


                                                                                     
                                                                                         Student loans
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                         that you did not report as priority claims
                Check if this claim is for a community debt
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                     ✔   Other. Specify Deficiency Balance
         Is the claim subject to offset?
         
         
         ✔ No

                Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         2 of ___
                                                                                                                                                                              7
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                      Hugh Ronnie Wallace
 Debtor 1            _______________________________________________________                             Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.4     CitiBank
       _____________________________________________________________                 Last 4 digits of account number       2973
       Nonpriority Creditor’s Name                                                                                                                             306.04
                                                                                                                                                             $__________________
        P. O. Box 6077                                                               When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
        Sioux Falls                                      SD
       _____________________________________________________________
                                                                        57117-6077

                                                                                     
       City                                              State          ZIP Code         Contingent


                                                                                     
                                                                                         Unliquidated
       Who incurred the debt? Check one.
       
                                                                                         Disputed

       
       ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                     
       
               Debtor 2 only

                                                                                     
                                                                                         Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                     
                                                                                         that you did not report as priority claims

       
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                     ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.5     Comenity/Burkes                                                              Last 4 digits of account number       9442                               496.00
                                                                                                                                                             $__________________
       _____________________________________________________________                 When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        P. O. Box 182789
       _____________________________________________________________
       Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
       _______________________________________________________________________


                                                                                     
       Columbus                            OH       43218-0000                           Contingent
       _____________________________________________________________

                                                                                     
       City                                              State           ZIP Code        Unliquidated

       
       Who incurred the debt? Check one.                                                 Disputed

       
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:

                                                                                    
               Debtor 2 only

                                                                                     
                                                                                         Student loans

       
       ✔       Debtor 1 and Debtor 2 only
                                                                                         Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another

                                                                                     
                                                                                         that you did not report as priority claims
       
                                                                                     
               Check if this claim is for a community debt                               Debts to pension or profit-sharing plans, and other similar debts
                                                                                     ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.6     Direct TV                                                                    Last 4 digits of account number       8445
        _____________________________________________________________                                                                                         182.00
                                                                                                                                                             $_________________
        Nonpriority Creditor’s Name                                                  When was the debt incurred?           ____________
        P. O. Box 5007
        _____________________________________________________________
        Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Carol Stream                        IL       60197                           
                                                                                     
        _____________________________________________________________                    Contingent
        City                                             State           ZIP Code

                                                                                     
        Who incurred the debt? Check one.                                                Unliquidated

                                                                                        Disputed

       
               Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                     
       
       ✔       Debtor 1 and Debtor 2 only
                                                                                     
                                                                                         Student loans
               At least one of the debtors and another                                   Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                     
                                                                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                               ✔   Other. Specify Cable / Satellite Services
       
       
       ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
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                                                                                                                                                                              7
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                      Hugh Ronnie Wallace
 Debtor 1            _______________________________________________________                               Case number (if known)_____________________________________
                     First Name       Middle Name             Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.7     HSBC Retail Services
       _____________________________________________________________                   Last 4 digits of account number       3665
       Nonpriority Creditor’s Name                                                                                                                               11,522.30
                                                                                                                                                               $__________________
        P. O. Box 5238                                                                 When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.

                                                                                       
        Carol Stream                                     IL
       _____________________________________________________________
                                                                          60197-5238

                                                                                       
       City                                              State            ZIP Code         Contingent


                                                                                       
                                                                                           Unliquidated
       Who incurred the debt? Check one.
       
                                                                                           Disputed

       
       ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
                                                                                       
       
               Debtor 2 only

                                                                                       
                                                                                           Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                       
                                                                                           that you did not report as priority claims

       
                                                                                       
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                       ✔   Other. Specify Deficiency Balance
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.8     Home Depot/CBNA                                                                Last 4 digits of account number       2973                               348.00
                                                                                                                                                               $__________________
       _____________________________________________________________                   When was the debt incurred?           ____________
                                                                                                                             2016
       Nonpriority Creditor’s Name
        P. O. Box 6497
       _____________________________________________________________
       Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.

                                                                                       
       _______________________________________________________________________


                                                                                       
       Sioux Falls                         SD       57117-0000                             Contingent
       _____________________________________________________________

                                                                                       
       City                                              State             ZIP Code        Unliquidated

       
       Who incurred the debt? Check one.                                                   Disputed

       
       ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:

                                                                                      
               Debtor 2 only

                                                                                       
                                                                                           Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another

                                                                                       
                                                                                           that you did not report as priority claims
       
                                                                                       
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                       ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.9     Republic Finance of Brookhaven                                                 Last 4 digits of account number       0632
        _____________________________________________________________                                                                                           5,885.00
                                                                                                                                                               $_________________
        Nonpriority Creditor’s Name                                                    When was the debt incurred?           2015
                                                                                                                             ____________
        Po Box 263
        _____________________________________________________________
        Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brookhaven                          MS       39601-0263                        
                                                                                       
        _____________________________________________________________                      Contingent
        City                                             State             ZIP Code

                                                                                       
        Who incurred the debt? Check one.                                                  Unliquidated

                                                                                          Disputed

       
       ✔       Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                       
       
               Debtor 1 and Debtor 2 only
                                                                                       
                                                                                           Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce

                                                                                      
                                                                                           that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                       
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 ✔   Other. Specify unsecured signature loan
       
       
       ✔       No
               Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      page __
                                                                                                                                                                           4 of ___
                                                                                                                                                                                7
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                    Hugh Ronnie Wallace
Debtor 1           _______________________________________________________                             Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.10 SW Outpatient Clinics                                                                                              7993
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           226.00
                                                                                                                                                          $__________________
       P. O. Box 490                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
       McComb                                          MS
      _____________________________________________________________
                                                                      39649

                                                                                  
      City                                             State          ZIP Code        Contingent


                                                                                  
                                                                                      Unliquidated
      Who incurred the debt? Check one.
      
                                                                                      Disputed

      
             Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
      
             Debtor 2 only

                                                                                  
                                                                                      Student loans

      
      ✔      Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another
                                                                                  
                                                                                      that you did not report as priority claims

      
                                                                                  
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
             Check if this claim is for a community debt
                                                                                  ✔   Other. Specify Medical Services
      Is the claim subject to offset?
      
      
      ✔      No
             Yes

                                                                                  Last 4 digits of account number                                         $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      _______________________________________________________________________


                                                                                  
                                                                                      Contingent
      _____________________________________________________________

                                                                                  
      City                                             State          ZIP Code        Unliquidated

      
      Who incurred the debt? Check one.                                               Disputed

      
             Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

                                                                                 
             Debtor 2 only

                                                                                  
                                                                                      Student loans

      
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another

                                                                                  
                                                                                      that you did not report as priority claims
      
                                                                                  
             Check if this claim is for a community debt                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                      Other. Specify
      Is the claim subject to offset?
      
      
             No
             Yes

                                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                       $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

                                                                                  
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State           ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Unliquidated

                                                                                     Disputed

      
             Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 2 only
                                                                                  
      
             Debtor 1 and Debtor 2 only
                                                                                  
                                                                                      Student loans
             At least one of the debtors and another                                  Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt
                                                                                  
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 Other. Specify
      
      
             No
             Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                      5 of ___
                                                                                                                                                                           7
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                 Hugh Ronnie Wallace
Debtor 1        _______________________________________________________                          Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      GC Services                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      ATTN: CRP Dept                                                            4.4 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      6330 Gulfton
     _____________________________________________________
                                                                           Last 4 digits of account number     0096
      Houston                               TX   77081-0000
     _____________________________________________________
     City                                   State               ZIP Code

      Internal Rev. Service                                                On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      C/O US Atty David Usry                                                     2.1 of (Check one):
                                                                           Line _____                   
                                                                                                        ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street
      501E.Court St,Ste6-430
     _____________________________________________________
                                                                           Claims

      Jackson                         MS         39201-0000
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code

      Portfolio Recovery Associates, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      P. O. Box 12914                                                           4.8 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Norfolk                          VA         23541
     _____________________________________________________                 Last 4 digits of account number     2973
     City                                   State               ZIP Code

      Portfolio Recovery Associates, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      P. O. Box 12914                                                            4.7 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Norfolk                         VA         23541
     _____________________________________________________                 Last 4 digits of account number     3665
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     Number          Street

     _____________________________________________________                 Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                         6 of ___
                                                                                                                                                               7
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               Hugh Ronnie Wallace
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                    2,571.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                      2,571.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     25,609.61


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      25,609.61
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
                                                                                                                                                  7 of ___
                                                                                                                                                        7
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 Fill in this information to identify your case:

                       Hugh Ronnie Wallace
 Debtor               __________________________________________________________________
                       First Name             Middle Name               Last Name
                      Nancy Katherine Wallace
 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name               Last Name


 United States Bankruptcy Court for the:______________________
                                        Southern District of Mississippi District of ________
                                                                                    (State)

                                                                                                                                         Check if this is an
 Case number           ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

                     Hugh Ronnie Wallace
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               Nancy Katherine Wallace
                        ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Southern District of Mississippi District of ________
                                                                                              (State)


                                                                                                                                                 Check if this is an
 Case number            ____________________________________________
  (If known)

                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
                   No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:


                                                                                                              
3.1
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                              
3.2
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                              
3.3
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                            page 1 of ___
                                                                                                                                                                1
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 Fill in this information to identify your case:

                      Hugh Ronnie Wallace
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2
                      Nancy Katherine Wallace
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________       District
                                          Southern District of Mississippi
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
                                                                                                         An amended filing
  (If known)


                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                           Employed                                     
    attach a separate page with

                                                                                                                        
    information about additional          Employment status                                                                  Employed
    employers.                                                            ✔ Not employed                                 ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address             _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.    $__________            $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
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Debtor 1
                 Hugh   Ronnie Wallace
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.     $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.     $____________            $_____________
     5e. Insurance                                                                                               5e.     $____________            $_____________
     5f. Domestic support obligations                                                                            5f.     $____________            $_____________

     5g. Union dues                                                                                              5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.     $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.     $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                1,201.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                1,201.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                                0.00
                                                                                                                         $___________     +           1,201.00
                                                                                                                                                  $_____________      =      1,201.00
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             1,201.00
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

     
13. Do you expect an increase or decrease within the year after you file this form?


     
           No.                Debtor has not had any income for the months of July-September
     ✔     Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
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  Fill in this information to identify your case:

                     Hugh Ronnie Wallace
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:

                                                                                                               An amended filing
                      Nancy Katherine Wallace
  Debtor 2            ________________________________________________________________

                                                                                                               A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          Southern District of Mississippi District of __________
  United States Bankruptcy Court for the: ______________________
                                                                                      (State)
                                                                                                                  expenses as of the following date:
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               
               ✔ No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 
                                           ✔ No
                                            Yes. Fill out this information for
                                                                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                                                                Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                  
   Debtor 2.                                    each dependent..........................

                                                                                                                                                  
                                                                                                                                                       No
   Do not state the dependents’                                                            _________________________                ________
   names.                                                                                                                                              Yes
                                                                                                                                                  
                                                                                                                                                  
                                                                                           _________________________                ________           No
                                                                                                                                                       Yes
                                                                                                                                                  
                                                                                                                                                  
                                                                                           _________________________                ________           No
                                                                                                                                                       Yes
                                                                                                                                                  
                                                                                                                                                  
                                                                                           _________________________                ________           No
                                                                                                                                                       Yes
                                                                                                                                                  
                                                                                                                                                  
                                                                                           _________________________                ________           No
                                                                                                                                                       Yes

3. Do your expenses include
                                           
                                           
                                                No
   expenses of people other than
   yourself and your dependents?                Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
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                    Hugh Ronnie Wallace
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     100.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      16.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     263.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     300.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      30.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      40.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     300.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     110.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      15.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                        0.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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                   Hugh Ronnie Wallace
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 1,174.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 1,174.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,201.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 1,174.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     27.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:   Debtors are abandoning their home. They will be renting a home soon. It is anticipated that
                                    the Debtors will rent a home for $200.00 per month.




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
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Fill in this information to identify your case:

Debtor 1           Hugh Ronnie Wallace
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2           Nancy   Katherine Wallace
                   ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Southern                      District of __________
                                                District of Mississippi
                                                                                (State)
Case number         ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Hugh Ronnie Wallace
          ______________________________________________           _____________________________
                                                                     /s/ Nancy Katherine Wallace
         Signature of Debtor 1                                         Signature of Debtor 2


              10/23/2018
         Date _________________                                              10/23/2018
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
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 Fill in this information to identify your case:

 Debtor 1          Hugh Ronnie Wallace
                   __________________________________________________________________
                     First Name               Middle Name                 Last Name

 Debtor 2             Nancy Katherine Wallace
                     ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: Southern
                                          ______________________       District of ______________
                                                  District of Mississippi
                                                                                (State)


                                                                                                                                            Check if this is an
 Case number         ___________________________________________
  (If known)
                                                                                                                                              amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                             4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
       Not married
      ✔ Married




 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
     ✔     No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                  lived there

                                                                                           Same as Debtor 1                                      Same as Debtor 1

               __________________________________________          From     ________         ___________________________________________           From ________
                Number    Street                                                             Number Street
                                                                   To       __________                                                             To      ________
               __________________________________________                                    ___________________________________________

               __________________________________________                                    ___________________________________________
               City                     State ZIP Code                                       City                     State ZIP Code


                                                                                           Same as Debtor 1                                      Same as Debtor 1


               __________________________________________          From     ________         ___________________________________________           From ________
                Number    Street                                                             Number Street
                                                                   To       ________                                                               To      ________
               __________________________________________                                    ___________________________________________

               __________________________________________                                    ___________________________________________
               City                     State ZIP Code                                       City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1
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Debtor 1        Hugh Ronnie Wallace
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                     
                                                                    bonuses, tips             35,684.00                   bonuses, tips            0.00
            the date you filed for bankruptcy:
                                                                    Operating a business                                  Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips            $________________
                                                                                              25,979.00                   bonuses, tips           $________________
                                                                                                                                                   0.00
            (January 1 to December 31, _________)
                                       2017                         Operating a business                                  Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              29,544.00                                           $________________
                                                                                                                                                   0.00
            (January 1 to December 31, _________)
                                       2016                         Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
           No
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________
                                                                                    0.00                      _________________________
                                                                                                               SSA Benefits                      $________________
                                                                                                                                                   9,608.00
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________
                                                                    15,660.00                                  _________________________
                                                                                                               SSA Benefits                      $________________
                                                                                                                                                   15,660.00
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2017                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________
                                                                    14,412.00                                  _________________________         $________________
                                                                                                                                                   0.00
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2016
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1       Hugh Ronnie Wallace
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________
                                                                                                                                         Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            Hugh Ronnie Wallace
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1          Hugh   Ronnie Wallace
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
           No
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                Portfolio Recovery Assoc., LLC VS. Repossession: Civil Compliant;
                                                                                                                                                          
    Case title:                                    Date filed: 05/31/2016                                  Lincoln Co. Circuit Court
                Nancy Wallace                                                                             ________________________________________            Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          P. O. Box 357
                                                                                                          ________________________________________
                                                                                                          Number    Street                                ✔   Concluded

                                                                                                           Brookhaven        MS     39602
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number CI2014-0045-LS
                ________________________


                                                                                                          ________________________________________           Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
           No. Go to line 11.
     ✔     Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property
                                                                               Civil Compliant
                   HSBC Retail Services                                                                                                                   Unknown
                   _________________________________________                                                                              __________
                                                                                                                                          05/31/2016     $______________
                   Creditor’s Name

                    P. O. Box 5238
                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                
                                                                                ✔    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                                                                                
                   Carol Stream           IL    60197-5238
                   _________________________________________
                   City                               State   ZIP Code               Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



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Debtor 1          Hugh Ronnie Wallace
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1            Hugh Ronnie Wallace
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔
     
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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Debtor 1           Hugh Ronnie Wallace
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Hugh Ronnie Wallace
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
                                                                                                         Checking
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___                                      _________              $___________
            ____________________________________
                                                                                                         Savings
                                                                                                         Money market
            Number       Street



                                                                                                         Brokerage
            ____________________________________


                                                                                                         Other__________
            ____________________________________
            City                       State    ZIP Code




            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
                                                                                                         Savings
            Name of Financial Institution


                                                                                                         Money market
            ____________________________________

                                                                                                         Brokerage
            Number       Street

            ____________________________________

            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
     ✔  No
           Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               
                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                                                                                                                          Yes
                                                                  Name

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1            Hugh Ronnie Wallace
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
    ✔      No
           Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                            No
                                                                                                                                                                            Yes
             ___________________________________                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
     ✔   No
           Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Hugh Ronnie Wallace
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
                A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     
     ✔     No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


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Debtor 1           Hugh Ronnie Wallace
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
           No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Hugh Ronnie Wallace
            ______________________________________________                        _____________________________
                                                                                     /s/ Nancy Katherine Wallace
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  10/23/2018                                                         Date _________________
                                                                                           10/23/2018
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
      ✔      No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

                  Hugh Ronnie Wallace
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name
                  Nancy Katherine Wallace
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name




                                                                                                                                               Check if this is an
                                        ______________________
United States Bankruptcy Court for the:Southern District of Mississippi District of __________
                                                                                   (State)
Case number         ___________________________________________
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.                Yes
          name:           Nationstar/Mr. Cooper

                                                                                        Retain the property and enter into a
         Description of          1969 Mill Creek Lane SW
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


         Creditor’s                                                                    
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.
                           Capital One Auto Finance
                                                                                                                                           Yes
         name:

                                                                                        Retain the property and enter into a
         Description of          2012 Ford Mustang
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s      Harrison Finance                                              
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
                                 Mower and computer
         Description of
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s        United Credit Corp                                          
                                                                                       ✔ Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
         Description of          HHG/Personal Property
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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                     Hugh Ronnie Wallace & Nancy Katherine Wallace
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Hugh Ronnie Wallace
         ___________________________________________           /s/ Nancy Katherine Wallace
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             10/23/2018
     Date _________________
                                                                        10/23/2018
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




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               Hugh Ronnie Wallace & Nancy Katherine Wallace
 Debtor 1                                                          _                 Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 108
1) Creditors who have secured claims

OneMain Financial                 HHG/Personal Propert No exemptions                               surrender
                                  y

First Heritage Credi HHG/Personal Propert No exemptions                                            avoid
t Brookhaven         y




  Official Form 108                          Statem ent of Intention for Individuals Filing Under Chapter 7
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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                            Southern District of Mississippi
                                               __________________________________
     In re   Hugh Ronnie Wallace & Nancy Katherine Wallace

                                                                                                             Case No. _______________

    Debtor                                                                                                    Chapter________________
                                                                                                                      7



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         950.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 950.00


          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00


     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Negotiations with secured creditors to reduce to marker value; exemption planning; preparation and filing of reaffirmation agreements and
applications as needed; preparation and filing of motion pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the Debtor(s) in any dischargeability actions, judicial lien avoidances, relief from stay actions, or any other adversary
proceedings.
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                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for
         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

   _____________________
     10/23/2018
                                      _________________________________________
                                       /s/ Francois Choudoir, 104976

   Date                                      Signature of Attorney
                                      _________________________________________
                                       Smith & Choudoir Law

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